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                                                       FILED
                                                       IN CLERK’S OFFICE
                                                       US DISTRICT COURT E.D.N.Y.
ALK:DEL                                                * FEBRUARY 1, 2024 *
F. #2024R00023                                         BROOKLYN OFFICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                        X


UNITED STATES OF AMERICA                              INDICTMENT


       - against -                                    Cr. No. 24-CR-50
                                                      (T. 18, U.S.C., §§ 894(a)(1),
JOHN RAGANO,                                           981(a)(1)(C), 1512(b)(3), 1512(d)(2),
                                                       2 and 3551 ^ s^.; T. 21, U.S.C.,
                        Defendant.                     § 853(p);T. 28, U.S.C., § 2461(c))

                                        X               Judge Ann M. Donnelly
                                                        Magistrate Judge James R. Cho
THE GRAND JURY CHARGES:


                                        COUNT ONE
                       (Extortionate Collection of Credit Conspiracy)

               1.    In or about and between November 2022 and July 2023, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant JOHN RAGANO,together with others, did knowingly and intentionally agree to

participate in the use of extortionate means to collect one or more extensions of credit from

John Doe, an individual whose identity is known to the Grand Jury.

             (Title 18, United States Code, Sections 894(a)(1) and 3551 et seq.)

                                        COUNT TWO
                             (Extortionate Collection of Credit)

              2.     In or about and between November 2022 and July 2023, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant JOHN RAGANO,together with others, did knowingly and intentionally
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participate in the use of extortionate means to collect and attempt to collect one or more

extensions of credit from John Doe.


            (Title 18, United States Code, Sections 894(a)(i), 2 and 3551 et seq.)

                                       COUNT THREE
                                 (Harassment of a Witness)

              3.      In or about and between November 2022 and July 2023, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant JOHN RAGANO,together with others, did knowingly and intentionally harass

one or more other persons, to wit: John Doe, and thereby hinder, delay, prevent and dissuade

John Doe from reporting to one or more law enforcement officers of the United States, and

attempt to do so,(a)the commission and possible commission of one or more Federal

offenses, to wit: the crimes charged in Counts One and Two; and (b)one or more violations

of the conditions of release pending judicial proceedings in United States v. Alimena. et al..

21-CR-466(E.D.N.Y.), to wit: contact with one or more co-defendants outside the presence

of counsel, and the crimes charged in Counts One and Two.

           (Title 18, United States Code, Sections 1512(d)(2), 2 and 3551 et seq.)

                                       COUNT FOUR
                                    (Witness Tampering)

              4.      On or about July 5, 2023, within the Eastern District of New York and

elsewhere, the defendant JOHN RAGANO,together with others, did knowingly and

intentionally use intimidation and threaten one or more other persons, to wit: John Doe, and

attempt to do so, with intent to hinder, delay and prevent the communication by John Doe to

one or more law enforcement officers of the United States of information relating to (a)the

commission and possible commission of one or more Federal offenses, to wit: the crimes
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charged in Counts One and Two; and (b) one or more violations ofthe conditions of release

pending judicial proceedings in United States v. Alimena. et al.. 21-CR-466(E.D.N.Y.), to

wit: contact with one or more co-defendants outside the presence of counsel, and the crimes

charged in Counts One and Two.

           (Title 18, United States Code, Sections 1512(b)(3), 2 and 3551 et seq.)

                         CRIMINAL FORFEITURE ALLEGATION


               5.     The United States hereby gives notice to the defendant that, upon his

conviction of any ofthe offenses charged herein, the government will seek forfeiture in

accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), which require any person convicted of such offenses to forfeit

any property, real or personal, constituting, or derived from, proceeds obtained directly or

indirectly as a result of such offenses.

               6.     If any ofthe above-described forfeitable property, as a result of any act

or omission of the defendant:


                      (a)     cannot be located upon the exercise of due diligence;

                      (b)     has been transferred or sold to, or deposited with, a third party;

                      (c)     has been placed beyond the jurisdiction ofthe court;

                      (d)     has been substantially diminished in value; or

                      (e)     has been commingled with other property which cannot be

divided without difficulty;
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it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendant up to the value ofthe forfeitable

property described in this forfeiture allegation.

              (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States

Code, Section 853(p); Title 28, United States Code, Section 2461(c))


                                                                 A TRUE BILL




                                                                foreMison



BREON PEACE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
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F.#2024R00023
FORMDBD-34          No.
JUN. 85
                                     UNITED STATES DISTRICT COURT


                                          EASTERN District o/NEW YORK

                                               CRIMINAL DIVISION


                                         THE UNITED STATES OF AMERICA


                                                      vs.



                                                 JOHN RAGANO,

                                                                                  Defendant.


                                                 INDICTMENT


                     (T. 18, U.S.C., §§ 894(a)(1), 981(a)(1)(C), 1512(b)(3), 1512(d)(2), 2
                      and 3551          T. 21, U.S.C., § 853(p); T. 28, U.S.C., § 2461(c))


                          A true bill.


                                                                               Foreperson


                    Filed in open court this                               day,

                    of                           A.D. 20
                                                                                       Clerk


                    Bail, $

                               Devon Lash, Assistant U.S. Attorney (718)254-6014
